, (Official Form 1) (1/08)

 

United States Bankruptcy Court

Voluntary Petiti
forthe _ District of _ Delaware y mon

 

 

 

 

 

Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):

Sharper Image Corporation N/A

All Other Names used by the Debtor in the last 8 years All Other Names used by the Joint Debtor in the last 8 years

(include married, maiden, and trade names): {include married, maiden, and trade nares):

The Sharper Image N/A

Last four digits of Soc. Sec. or Individual-Taxpayer 1D. (ITIN) No./Complete EIN Gf Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more
more than one, state all): XX-XXXXXXX than one, state all); N/A

Street Address of Debtor (No. and Street, City, and State): Street Address of Joint Debtor (No. and Street, City, and State):

Sharper Image Corporation N/A

350 The Embarcadero, 6" Floor
San Francisco, California

 

 

 

 

 

 

zipcope 94105 ZIP CODE
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
San Francisco N/A
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
N/A N/A

 

ZIP CODE ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above): Various
ZIP CODE

 

 

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box)
(Check one box.) (1 Health Care Business . . . . . :
(1 Individual (includes Joint Debtors) CJ Single Asset Real Estate as defined in [) Chapter 7 oO Chapter 15 Petition for Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101 (31B) A Chapter 9 oO Main Proceeding
san (i “— Chapter 11 Chapter 15 Petition for Recognition of a Foreign
LLP . ®
A one (ineludes LLC and ) C1 Railroad C1 Chapter 12 Nonmain Proceeding
arinership . Stockbroker C) Chapter 13
( Other (If debtor is not one of the above :
entities, check this box and state type of [) Commodity Broker Nature of Debts (Check one box)
entity below.) (0 Clearing Bank ,
& Other (1 Debts are primarily consumer Debts are primarily business

debts, defined in 11 U.S.C. § debts.
Tax-Exempt Entity 101(8) as “curred by an
(Check box, if applicable.) individual primarily for a personal,
(1 Debtor is a tax-e empt organization family. or household purpose.”
ebtor is a tax-exi , -
under Title 26 of the United States Chapter 11 Debtors
Code (the Intemal Revenue Code). Check one box:
Oo Debtor is a small business debtor as defined in 11 U.S.C. § 101(S1D).

 

 

 

Filing Fee (Check one box) —
LX} Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

 

 

(Full Filing Fee attached
(2 Fiting Fee to be paid in installments (applicable to individuals only) Check if:
Must attach signed application for the court’s consideration certifying that the debtor is unable to pay fee .
except in installments. Rule 1006(b). See Official Form 3A. CJ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
(1) Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach signed application for insiders or affiliates) are less than $2,190,000.
the court's consideration. See Official Form 3B, a ee ee ee ee eee ee eee eee
Check all applicable boxes:
C A plan is being filed with this petition.
Cj Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(B).
Statistical/Administrative Information UNDETERMINED THIS SPACE IS FOR COURT USE

Qo Debtor estimates that funds will be available for distribution to unsecured creditors. ONLY

(0 __ Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.

 

Estimated Number of Creditors

 

 

 

 

0 im 0 0 Oo O Ds] 0 0 0

1-49 50-99 100-199 200-999 1,000- 5,001. 10,001- 25,001 50,001! - Over
5,000 10,000 25,000 50,000 100,000 100,000

Esti d Assets

Q O QO 0 O oO 0 md 0 O

$0 to 550,001 ta $100,001 to $500,001 to $1,000,001 $10,000,001 $50,006,001 $100,000,001 $500,000,001 More than

$50,000 $100,000 $500,000 $1 million 10 $10 to $50 to $100 to $500 to $) billion $1 billion
million million million million

 

Estimated Liabilities

 

O a 0 CO O 0 O bd 0 O
$0 to $50,001 10 «$100,001 t0 $500,001 to $1,000,001 $10,000,001 $50,000,001 $10,000,001 $00,000,001 More than
$50,000 $100,000 ~=——_$ 500,000 $1 million 10 $10 to $50 to $100 ta $500 to $1 billion $1 billion

million million million million

 

 

 

 

 
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(Official Form 1) (1/08)
FORM B1, Page 2

 

Voluntary Petition Name of Debtor(s): Sharper Image Corporation
(This page must be completed and filed in every case}

 

All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
Case Number: N/A Date Filed:

 

Location
Where Filed: N/A

 

Location Case Number: Date Filed:

Where Filed:

 

Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)

 

Name of Debtor: Case Number: Date Filed:

N/A

District: Relationship: Judge:

 

 

 

Exhibit A Exhibit B

{To be completed if debtor is an individual
. . : +g: A debts y invari debts.
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q) ‘ose debis age printarly consumer debs.)
with the Securities and Exchange Commission pursuant to Section 13 or 13(d) of the ff |, the attorney for the petitioner named in the foregoing petition, declare that I have informed
Securities Exchange Act of 1934 and is requesting relief under chapter 11.) the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
States Code, and have explained the relief available under each such chapter. | further certify
that I have delivered to the debtor the notice required by § 342(b).

ao gt . ae x
RI Exhibit A is attached and made a part of this petition. Signature of Attorney for Debtor(s) Date

 

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
(Os Yes, and Exhibit C is attached and made a part of this petition.

EK No.

 

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
oO Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

oO Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)

J Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

(0 There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

(1 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court} in this District, or
the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes)

(C — Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

{1 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

(1 Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
petition.

(1 Debtor certifies that he/she has served the Landlord with this certification. (1] U.S.C. § 362(1)).

 

 

 

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(Official Form 1) (1/08)
FORM B1, Page 3

 

Voluntary Petition Name of Debtor(s): Sharper Image Corporation

(This page must be completed and filed in every case}

 

 

Signatures
Signature(s) of Debtor(s) (Individual/Joint) Signature of a Foreign Representative
1 declare under penalty of perjury that the information provided in this petition is true and I declare under penalty of perjury that the information provided in this petition is
correct. true and correct, that I am the foreign representative of a debtor in a foreign
[If petitioner is an individual whose debts are primarily consumer debts and has chosen to proceeding, and that I am authorized to file this petition.

file under chapter 7} | am aware that | may proceed under chapter 7, 11, 12 or 13 of ule
11, United States Code, understand the relief available under each such chapter, and

choose to proceed under chapter 7. (Check only one box.)

[If no attorney represents me and no bankruptcy petition preparer signs the petition] 1 have

obtained and read the notice required by 11 ULS.C. § 342(b). O I request relief in accordance with chapter [5 of title 11, United States Code.
Centified copies of the documents required by 11 U.S.C. § 1515 are attached.

thevaitien accordance with the chapter of title 11, United States Code, specified in oO Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of tide
11 specified in this petition. A certified copy of the order granting recognition of

the foreign main proceeding is attached.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

x
Signature of Debtor x
(Signature of Foreign Representative)
x
Signature of Joint Debtor
{Printed Name of Foreign Representative)
Telephone Number (if not represented by attomey)
Date
Date
Signature of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer
1 declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11
Vv U.S.C. § 110; (2) | prepared this document for compensation and have provided the debtor with
* Goad a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
Se ‘ure of Attomey for Debtor(s) 110(1), and 342(b); and (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C.
§ 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, |
Steven K. Kortanek have given the debtor notice of the maximum amount before preparing any document for filing
Printed Name of Attomey for Debtor(s) for a debtor or accepting any fee from the debtor, as required in that section, Official Form 19B
: : is attached.
Womble Carlyle Sandridge & Rice, PLLC
Firm Name , sy T
. Printed Name and title, if any, of Bankruptcy Petition Preparer
222 Delaware Avenue, Suite 1501
Address Social-Security number (If the bankruptcy petition preparer is not an individual, state the
sy: Social-Security number of the officer, principal, responsible person or partner of the bankruptcy
Wilmington Delaware 19081 petition preparer.) (Required by 11 U.S.C. § 110.)
(302) 252-4320 Address
Telephone Number
x
Date
* Incase in which § 707(b)(4)(D) applies, this signature also constitutes a certification that the attomey Date
has no knowledge after an inquiry that the information in the schedules is incorrect. Signature of bankruptcy petition preparer or officer, principal, responsible person, or partner
. . . whose Social-Security number is provided above.
Signature of Debtor (Corporation/Partnership) : : oo. .
. a. Names and Social-Security numbers of all other individuals who prepared or assisted in
I declare under penalty of perjury that the information provided in this petition is true and preparing this document unless the bankruptcy petition preparer is not an individual:
correct, and that I have been authorized to file this petition on behalf of the debtor. . we .
ge sth th tid United § If more than one person prepared this document, attach additional sheets conforming to the
Oey ye relief in accordance with the chapter of title 11, United States appropriate official form for each person.
‘ode, sp
A bankruptcy petition preparer’s failure to comply with the provisions of title 1] and the
Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C.
x $110; 18 U.S.C. § 156.

 

Rebecca L. Roedell

Printed Name of Authorized Individual

Executive Vice President and Chief Financial Officer
Title of Authorized Individual]

E2/(4[0F

Date

 

 

 

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

X

 

In re: : Chapter 11

SHARPER IMAGE CORPORATION, : Case No. 08- (__)

Debtor.

xX

 

EXHIBIT “A” TO VOLUNTARY PETITION

1. The Debtor has securities registered under Section 12 of the Securities and Exchange
Act of 1934. The Debtor’s SEC file number is 0-15827.

2. The following financial data is the latest available information and refers to the
debtor’s condition on January 31, 2008.

a. Total assets $25 1,500,000

b. Total debts (including debts listed in 2.c., below) $199,000,000

Approximate
number of
holders

C. Debt securities held by more than 500 holders. None

secured[] unsecured[_] subordinated Cc] $
secured[_] unsecured["] subordinated [_] $
secured[_}| unsecured[[] subordinated [_] g
secured [_] unsecured[-] subordinated [| $

 

 

 

 

d. Number of shares of preferred stock None
€. Number of shares of common stock 15,172,523

Comments, if any:

 

 

 

3. Brief description of debtor’s business: Sharper Image is a multi-channel specialty
retailer that is nationally and intemationally renowned as a leading source of new,
innovative, high-quality products. Sharper Image’s business is discussed in more
detail in the Declaration of Rebecca L. Roedell In Support of the Debtor’s Chapter 11
Petition and Request for First Day Relief.

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4, List the names of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of debtor: Franklin Resources, Inc.; Capital
World Investors; Dimensional Fund Advisors LP; Royce & Associates LLC; Sun Capital
Securities; and Starboard Value and Opportunity Master Fund (aka Ramus).

 

 

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CERTIFICATE OF RESOLUTIONS

I, Rebecca L. Roedell, Executive Vice President and Chief Financial Officer of
Sharper Image Corporation, a Delaware corporation (the “Company’”), hereby certify that at a
special meeting of the Board of Directors of the Company (the “Board”) duly called and held on
February 19, 2008, the following resolutions were adopted in accordance with the requirements
of the Delaware General Corporation Law and that these resolutions have not been modified or

rescinded and are still in full force and effect on the date hereof:

RESOLVED, that, in the judgment of the Board, it is desirable and in the
best interests of the Company, its creditors, employees, and other interested
parties that a petition be filed by the Company seeking relief under the provisions
of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and
it is further

RESOLVED, that the Chief Executive Officer and Chief Financial Officer
and any other person designated and so authorized to act (each, an “Authorized
Officer’) of the Company be, and each hereby is, authorized, empowered, and
directed, in the name and on behalf of the Company, to execute and verify the
petition under chapter 11 of the Bankruptcy Code and to cause the same to be
filed in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court’) at such time as the Authorized Officer executing the petition
shall determine; and it is further

RESOLVED, that the law firm of Weil, Gotshal & Manges LLP be, and
hereby is, employed as attorneys for the Company under a general retainer in the
Company’s chapter 11 case, subject to the approval of the Bankruptcy Court; and
it is further

RESOLVED, that the law firm of Womble Carlyle Sandridge & Rice,
PLLC be, and hereby is, employed as attorneys for the Company under a general
retainer in the Company’s chapter 11 case, subject to the approval of the
Bankruptcy Court; and it is further

RESOLVED, that the firm of Conway Del Genio Gries & Co., LLC, be,
and hereby is, employed to provide restructuring management services for the
Company, subject to the approval of the Bankruptcy Court; and it is further

RESOLVED, that Robert P. Conway, be, and hereby is, elected as the
Chief Executive Officer until his successor shall be duly elected; and it is further

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RESOLVED, that any Authorized Officer be, and hereby is, authorized,
empowered, and directed to execute and file all petitions, schedules, motions,
lists, applications, pleadings, and other papers and, in connection therewith, to
employ and retain all assistance by legal counsel, accountants, financial advisors,
and other professionals and to take and perform any and all further acts and deeds
that such Authorized Officer deems necessary, proper, or desirable in connection
with the Company’s chapter 11 case, with a view to the successful prosecution of
such case; and it is further

RESOLVED, that in connection with the commencement of the chapter 11]
case by the Company, any Authorized Officer be, and hereby is, authorized,
empowered, and directed to negotiate, execute, and deliver agreements for the use
of cash collateral and postpetition financing in connection with the Company’s
chapter 11 case, including the granting of liens to such lender(s) to such
agreement(s), and to take such additional action and to execute and deliver each
other agreement, instrument, or document to be executed and delivered by or on
behalf of the Company pursuant thereto or in connection therewith, all with such
changes therein and additions thereto as any Authorized Officer approves, such
approval to be conclusively evidenced by the taking of such action or by the
execution and delivery thereof; and it is further

RESOLVED, that any Authorized Officer and such other officers of the
Company as the Authorized Officers shall designate from time to time, and any
employees or agents (including counsel) designated by or directed by any such
officers be, and each hereby is, authorized, empowered, and directed, in the name
and on behalf of the Company, to cause the Company to enter into, execute,
deliver, certify, file, and/or record, and perform such agreements, instruments,
motions, affidavits, applications for approvals or rulings of governmental or
regulatory authorities, certificates, or other documents, and to take such other
actions, as in the judgment of any such officer shall be or become necessary,
proper, and desirable to effectuate a successful reorganization of the Company’s
businesses; and it is further

RESOLVED, that in connection with the commencement of the chapter 11
case by the Company, the Authorized Officers be, and hereby are, authorized and
empowered on behalf of, and in the name of, the Company, to adopt a plan of
reorganization or pursue a sale transaction as such officer or officers executing the
same may consider necessary, proper, or desirable, such determination to be
conclusively evidenced by such execution or the taking of such action, and to
consummate the transactions contemplated by such agreements or instruments on
behalf of the Company and any affiliates; and

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RESOLVED, that any and all past actions heretofore taken by any
Authorized Officer or the Directors of the Company in the name and on behalf of
the Company in furtherance of any or all of the preceding resolutions be, and the
same hereby are, ratified, confirmed, and approved.

IN WITNESS WHEREOF, I have hereunto set my hand this 19th day of
February 2008.

   

By: 'Rebecca L. Réedell
Title: Executive Vice President and
Chief Financial Officer

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re: Chapter 11

SHARPER IMAGE CORPORATION, Case No. 08-

C_)
Debtor.

x

 

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

Following is the list of the Debtor’s creditors holding the 20 largest
unsecured claims.’ The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for
filing in this chapter 11 case. This list does not include (1) persons who come within the
definition of “insider” set forth in 11 U.S.C. § 101, or (2) secured creditors unless the
value of the collateral is such that the unsecured deficiency places the creditor among the
holders of the 20 largest unsecured claims.

 

Name of creditor and complete | Name, telephone number and Nature of claim Indicate if Amount of claim

 

 

 

1915 Paysphere Circle
Chicago, IL 60674

 

 

1915 Paysphere Circle
Chicago, IL 60674
Attn: Kim Jackson
Tel: 609-865-9874
Fax: 215-563-2257

 

 

 

mailing address, including zip complete mailing address, (trade debt, bank claim is (if secured also
code including zip code, of employee, | loan, government contingent, state value of

agent, or department of creditor | contract, etc.) unliquidated, | security)

familiar with claim who may be disputed, or

contacted subject to

setoff

United Parcel Service United Parcel Service Trade Debt
PO Box 660586 PO Box 660586 $6,654,431.00
Dallas, TX 75266-0586 Dallas, TX 75266-0586

Attn: Amy Burwell

Tel: 214-323-7408

Fax: 214-323-7400
Quebecor World (USA) Inc. Quebecor World (USA) Inc. Trade Debt $3.636.484.00
3700 NW 12th Street 3700 NW 12th Street oe
Lincoln, NE 68521 Lincoln, NE 68521

Attn: Larry Rigby

Tel: 402-474-5824

Fax: 402-474-5830
Tom Tom, Inc. Tom Tom, Inc. Trade Debt $2,075,439.00

 

 

' The information herein shall not constitute an admission of liability by, nor is it binding on, the Debtor.

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wr rr

 

 

Name of creditor and complete

Name, telephone number and

Nature of claim

Indicate if

Amount of claim

 

 

 

 

 

 

 

 

mailing address, including zip complete mailing address, (trade debt, bank claim is (if secured also
code including zip code, of employee, | loan, government contingent, state value of

agent, or department of creditor | contract, etc.) unliquidated, | security)

familiar with claim who may be disputed, or

contacted subject to

setoff

Garmin International, Inc. Garmin International, Inc. Trade Debt
PO Box 842603 PO Box 842603 $2,070.133.00
Kansas City, MO 64184-2603 Kansas City, MO 64184-2603

Attn: Doug Jones

Tel: 913-397-8200

Fax: 913-397-8282
Novus Print Media Inc. Novus Print Media Inc. Trade Debt
SDS 12-0664 SDS 12-0664 $1,738,481.00
PO Box 86 PO Box 86
Minneapolis, MN 55486-0664 Minneapolis, MN 55486-0664

Attn: Accounts Payable

Tel: 763-476-7700

Fax: 763-476-7701
NEW NEW Trade Debt
22660 Executive Dr., STE 122 22660 Executive Dr., STE 122 $1,669,471.00
Sterling, VA 20166 Sterling, VA 20166

Attn: David Brosserman

Tel: 800-942-8763

Fax: N/A
Interactive Health Interactive Health Trade Debt
330 Walnut Ave 330 Walnut Ave $965,950.00
Long Beach, CA 90807 Long Beach, CA 90807

Attn: Craig Womack

Tel: 562-733-7349

Fax: 562-426-7127
Philips Consumer Electronics _ Philips Consumer Electronics Trade Debt $913.399.00
PO Box 846161 PO Box 846161 os
DPT 1B 2234353 DPT 1B 2234353
Dallas, TX 75284-6161 Dallas, TX 75284-6161

Attn: Rich Sargente

Tel: 951-943-4035

Fax: 951-943-7056
SkyMall, Inc. SkyMall, Inc. Trade Debt :
PO Box 52854 PO Box 52854 Sublect fo $840,000.00
Phoenix, AZ 85072-2854 Phoenix, AZ 85072-2854

Attn: Sophea Mathus

Tel: 602-254-9777

Fax: 602-528-3293
Thelen Reid Brown Raysman Thelen Reid Brown Raysman Professional $734.276.00
& Steiner LLP & Steiner LLP Services _—
File 72947 File 72947
PO BOX 60000 PO Box 60000

San Francisco, CA 94160-2947

 

San Francisco, CA 94160-2947
Attn; David Aronoff

Tel: 213-576-8000

Fax: 213-576-8080

 

 

 

 

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Name of creditor and complete

Name, telephone number and

Nature of claim

Indicate if

Amount of claim

 

 

 

 

 

 

 

 

 

mailing address, including zip complete mailing address, (trade debt, bank claim is (if secured also
code including zip code, of employee, | loan, government contingent, state value of

agent, or department of creditor | contract, etc.) unliquidated, | security)

familiar with claim who may be disputed, or

contacted subject to

setoff

ION Audio ION Audio Trade Debt $701,819.00
200 Scenic View Dr. #201 200 Scenic View Dr. #201 _—
Cumberland, RT 02864 Cumberland, RI 02864

Attn: Dale Sprock

Tel: 650-572-2335

Fax: 650-572-2377
Google, Inc. Google, Inc. Trade Debt
Dept 33654 Dept 33654 $663,197.00
PO Box 39000 PO BOX 39000
San Francisco, CA 94139 San Francisco, CA 94139

Attn: Chantal Walton

Tel: 650-214-2667

Fax: 650-253-8616
Panasonic Consumer Electronics Panasonic Consumer Electronics Trade Debt $614,552.00
1 Panasonic Way 4A-7 1 Panasonic Way 4A-7 _—
Seacaucus, NY 07094 Secaucus, NJ 07094

Attn: Jennifer Makoul

Tel: 201-271-3314

Fax: 201-392-6979
XPEDX XPEDX Trade Debt
File 050201 File 050201 $588,522.00
Los Angeles, CA 90074-0201 Los Angeles, CA 90074-0201

Attn: Michael Jacobson

Tel: 630-480-8406

Fax: N/A
UGobe, Inc. UGobe, Inc. Trade Debt
5900 Hollis Street, Suite V 5900 Hollis Street, Suite V $582,560.00
Emeryville, CA 94608 Emeryville, CA 94608

Attn: Martin Hitch

Tel: 510-665-0515 (extension 21)

Fax: 510-655-0519
TAO Music Inc. TAO Music Inc. Trade Debt Bey
1215 Chrysler Drive 1215 Chrysler Drive $537,636.00
Menlo Park, CA 94025 Menlo Park, CA 94025

Attn: Ling Tao Wang

Tel: 650-326-5000

Fax: 650-326-5828
Aliph Aliph Trade Debt
150 Executive Park Blvd. 150 Executive Park Blvd. $534,025.00
Suite 4550 Suite 4550
San Francisco, CA 94134 San Francisco, CA 94134

Attn: Johnathan Harris

Tel: 415-657-9757

Fax: 415-657-3172
Eperformax Centers, Inc. Eperformax Centers, Inc. Trade Debt $527,241.00

8001 Centerview Parkway
Suite 300
Cordova, IN 38018

 

8001 Centerview Parkway
Suite 300

Cordova, IN 38018

Attn: Andre Jaeckle

Tel: 901-751-4800

Fax: 901-751-4900

 

 

 

 

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Name of creditor and complete

Name, telephone number and

Nature of claim

Indicate if

Amount of claim

 

 

 

mailing address, including zip complete mailing address, (trade debt, bank claim is Gf secured also
code including zip code, of employee, | loan, government contingent, state value of

agent, or department of creditor | contract, etc.) unliquidated, | security)

familiar with claim who may be disputed, or

contacted subject to

setoff

CCL Product CCL Product Trade Debt $522,001.00
Flat A4, 4th Floor Block A Flat A4, 4th Floor Block A _—
Tseun Wan, Hong Kong Tseun Wan, Hong Kong

Attn: Kim Lam

Tel: 011-852-2432-7191

Fax: 011-852-2433-1608
Linkshare Linkshare Trade Debt $517,430.00

PO BOX 30772
NY, NY 10087-0772

 

PO BOX 30772

NY, NY 10087-0772
Attn: Michael Maciaszek
Tel: 646-454-6000

Fax: 646-602-0160

 

 

 

 

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DECLARATION UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORATION

I, the undersigned authorized officer of Sharper Image
Corporation, named as the debtor in this case (the “Debtor”), declare under penalty of
perjury that I read the foregoing list of creditors holding the 20 largest unsecured claims

against the Debtor and that it is true and correct to the best of my information and belief.

Dated: February 19, 2008

 
    

LIAL 4
By: ~ Rebecca L. ROedell

Title: Executive Vice President and
Chief Financial Officer

 

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‘
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
xX
In re: :; Chapter 11
SHARPER IMAGE CORPORATION, Case No. 08-_(_)
Debtor.
x
LIST OF CREDITORS’

Contemporaneously herewith, Sharper Image Corporation (the “Debtor”) has filed
a motion (the “Motion”) requesting a waiver of the requirement for filing a list of creditors
pursuant to sections 105(a), 342(a), and 521(a)(1) of title 11 of the United States Code, Rules
1007(a) and 2002(a), (f), and (1) of the Federal Rules of Bankruptcy Procedure, and Rule 1007-2
of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the District of Delaware. The Debtor proposes to furnish its list of creditors to its proposed
claims and noticing agent as set forth in the Motion.

The list of creditors will contain only those creditors whose names and addresses
were maintained in the Debtor’s database or were otherwise ascertainable by the Debtor prior to
the commencement of this chapter 11 case. The list of creditors holding the 20 largest unsecured
claims, which was contemporaneously filed with the Court, as well the schedules of assets and
liabilities, schedule of executory contracts and unexpired leases, and statement of financial
affairs, which will be filed with the Court, should be consulted for a list of the Debtor’s creditors
that is comprehensive and current as of the date of the commencement of this chapter 11 case.

 

? The information herein shall not constitute an admission of liability by, nor is it binding on, the Debtor.

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

Xx
In re: Chapter 11
SHARPER IMAGE CORPORATION, Case No. 08-_ ss (_—)
Debtor.
x

CORPORATE OWNERSHIP STATEMENT PURSUANT TO
FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007(a)(1) AND 7007.1

Rebecca L. Roedell declares under penalty of perjury under the laws of the
United States of America, as follows:

1. Iam Executive Vice President and Chief Financial Officer of
Sharper Image Corporation (“Sharper Image”).

2. The following entities own, directly or indirectly, 10% or more of
any class of equity interests of Sharper Image: Franklin Resources, Inc.; Starboard Value and

Opportunity Master Fund (aka Ramius); and Sun Capital Securities.

Executed this 9 day of February, 2008

 

Rebecca L. Roedell ”
Executive Vice President and
Chief Financial Officer

CADOCUME~KCURROMALOCALS~INTEMP\NOTESAE4E4P\TSI - CORPORATE OWNERSHIP STATEMENT_#1843917,D0C

 
